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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 ROBERT A. PASTOR, ET AL.,                         Case No. 15-cv-03831-VC
                Plaintiffs,
                                                   JUDGMENT
         v.

 BANK OF AMERICA,
                Defendant.



       This certified class action is hereby dismissed with prejudice and judgment is entered in

accordance with the Order Granting Final Approval of Class Action Settlement and Awarding

Attorneys' Fees. (Dkt. No. 84.) Without affecting the finality of this Judgment, the Court

reserves jurisdiction over the Class Representatives, the Settlement Class, and the Defendants as

to all matters concerning administration, consummation, and enforcement of the Settlement

Agreement.


       IT IS SO ORDERED.

Dated: August 22, 2018
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
